               Case 3:22-cr-00036-CRB Document 17 Filed 01/11/22 Page 1 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 LLOYD FARNHAM (CABN 202231)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7
   SRIDHAR BABU KAZA (INBN 23454-71)
 8 Trial Attorney,
   U.S. Department of Justice, Fraud Section
 9
          950 Pennsylvania Avenue, NW
10        Washington, DC 20005
          Telephone: (202) 531-1481
11        sridhar.babu.kaza@usdoj.gov

12 Attorneys for United States of America

13                                   UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16   UNITED STATES OF AMERICA,                      )   CASE NO. 3:21-71156-MAG
                                                    )
17           Plaintiff,                             )   STIPULATION AND [PROPOSED] ORDER TO
                                                    )   CONTINUE HEARING AND EXCLUDE TIME
18      v.                                          )   UNDER THE SPEEDY TRIAL ACT AND FED. R.
                                                    )   CRIM. P. 5.1
19   JULI MAZI,                                     )
                                                    )
20           Defendant.                             )
                                                    )
21

22           Defendant Juli Mazi made an initial appearance in this case on July 15, 2021. Defendant Mazi
23 was released on pretrial services supervision, $100,000 bond, and release conditions. The Court ordered

24 that Defendant Mazi’s preliminary hearing be held on August 5, 2021, at 10:30 a.m. At the parties’

25 request, the Court previously continued the preliminary hearing four times and excluded time under the

26 Speedy Trial Act from August 5, 2021, through December 9, 2021. Defendant Mazi waived the
27 preliminary hearing, and on December 9, 2021, the Court ordered an arraignment to be conducted on

28
     STIPULATION AND [PROPOSED] ORDER TO EXCLUDE TIME

                                                    1
30
              Case 3:22-cr-00036-CRB Document 17 Filed 01/11/22 Page 2 of 4




 1 January 12, 2022, and excluded time under the Speedy Trial Act from December 9, 2021 through

 2 January 12, 2022.

 3          The parties have met and conferred and request that this matter be continued from January 12,

 4 2022, to January 28, 2022. Counsel for Defendant Mazi and counsel for the United States stipulate that

 5 time be excluded under the Speedy Trial Act from January 12, 2022, through January 28, 2022.

 6 Defendant Mazi also waives through January 28, 2022, the time in which the government is required to

 7 file an information or indictment under 18 U.S.C. § 3161(b).

 8          The parties stipulate and agree that the exclusion of time is appropriate under the

 9 circumstances—including the current pandemic and shelter-in-place orders—in order to give the parties

10 an opportunity to negotiate the possibility of a pre-indictment resolution, to give defense counsel time to

11 review discovery, which the government represents involves, among other items, thousands of pages of

12 patient medical and billing records, reports of investigation, and recordings of recorded conversations,

13 and to give the government additional time to return and file an indictment or information. See 18

14 U.S.C. §§ 3161(b), 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii), and 3161(h)(7)(B)(iv); see also United States v.

15 Pete, 525 F.3d 844, 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding the applicability of

16 the exclusions under § 3161(h)(1) to the pre-indictment period (governed by § 3161(b)) and the pretrial

17 period (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir.

18 1985) (“In cases of relative complexity, with multiple defendants and ongoing investigations such as

19 here, it may be quite unreasonable to expect the preparation and return of an indictment within thirty

20 days…. In the case at bar, efficiency and economy were definitely served by the sixty day extension.”).

21          The parties further stipulate and agree that the ends of justice served by excluding time from

22 January 12, 2022, through January 28, 2022, from computation under the Speedy Trial Act outweigh the

23 best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A) & (B)(ii)-

24 (iv).

25          SO STIPULATED.

26
27

28
     STIPULATION AND [PROPOSED] ORDER TO EXCLUDE TIME

                                                     2
30
              Case 3:22-cr-00036-CRB Document 17 Filed 01/11/22 Page 3 of 4




 1

 2 Dated: January 11, 2022                                STEPHANIE M. HINDS
                                                          United States Attorney
 3

 4                                                               /s/
                                                          LLOYD FARNHAM
 5                                                        Assistant United States Attorney
                                                          SRIDHAR BABU KAZA
 6                                                        Trial Attorney

 7 Dated: January 11, 2022
                                                                /s/
 8                                                        PHILIP A. SCHNAYERSON
                                                          Counsel for Defendant Juli Mazzi
 9

10

11                                           [PROPOSED] ORDER

12          Pursuant to the stipulation of the parties, the arraignment currently set for January 12, 2022, is

13 HEREBY CONTINUED to January 28, 2022.

14          Based upon the facts set forth in the stipulation of the parties and for good cause shown, the

15 Court finds that failing to exclude the time from January 12, 2022, through and including January 28,

16 2022, would unreasonably deny defense counsel and Defendant Mazi the reasonable time necessary for

17 effective preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

18 The Court also finds that excluding the time from January 12, 2022, through and including January 28,

19 2022, is appropriate in light of the complexity of the case, and the amount of time necessary to return

20 and file an indictment under the circumstances, including the current pandemic, within the time

21 specified by 18 U.S.C. § 3161(b). See 18 U.S.C. §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii); see also

22 United States v. Pete, 525 F.3d 844, 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding

23 the applicability of the exclusions under § 3161(h)(1) to the pre-indictment period (governed by §

24 3161(b)) and the pretrial period (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d

25 1324, 1328 (9th Cir. 1985) (“In cases of relative complexity, with multiple defendants and ongoing

26 investigations such as here, it may be quite unreasonable to expect the preparation and return of an
27 indictment within thirty days…. In the case at bar, efficiency and economy were definitely served by the

28
     STIPULATION AND [PROPOSED] ORDER TO EXCLUDE TIME

                                                      3
30
              Case 3:22-cr-00036-CRB Document 17 Filed 01/11/22 Page 4 of 4




 1 sixty day extension.”).

 2          The Court further finds that the ends of justice served by excluding the time January 12, 2022,

 3 through and including January 28, 2022, from computation under the Speedy Trial Act outweigh the

 4 best interests of the public and the defendants in a speedy trial.

 5          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

 6 January 12, 2022, through and including January 28, 2022, shall be excluded from computation under

 7 the Speedy Trial Act. 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii)-(iv). The Court also orders that the time

 8 in which the government is required to file an information or indictment under 18 U.S.C. § 3161(b) is

 9 waived with the consent of the Defendant through January 28, 2022.

10            IT IS SO ORDERED.

11

12

13     Dated: _____________________                          HON. SALLIE KIM
                                                             United States Magistrate Judge
14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
     STIPULATION AND [PROPOSED] ORDER TO EXCLUDE TIME

                                                      4
30
